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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


 JEFFERY BATTLE,

                         Plaintiff                     Case No. 1:23-cv-01822-LKG

                 v.

 MICROSOFT CORPORATION,

                         Defendants


               DEFENDANT MICROSOFT CORPORATION’S MOTION TO
                  COMPEL ARBITRATION AND DISMISS OR STAY

        Pursuant to Federal Rule of Civil Procedure 12(b)(3) and the Federal Arbitration Act

(“FAA”), 9 U.S.C. §§ 1, et seq., Defendant Microsoft Corporation (“Microsoft”) hereby

respectfully moves the Court for an order compelling arbitration of Plaintiff Jeffery Battle’s

(“Plaintiff”) claims pursuant to the parties’ binding arbitration agreement.

        As set forth in the accompanying Memorandum, Plaintiff repeatedly assented to the

Microsoft Services Agreement (“MSA”), pursuant to which he agreed to arbitrate disputes,

including those involving the tort claims at issue here, before the American Arbitration

Association.    Because Plaintiff’s claims fall squarely within the MSA’s broad arbitration

provision, dismissal or, alternatively, a stay of this action pending arbitration is proper.

        For these reasons and as set forth in the accompanying Memorandum, Microsoft

respectfully requests that the Court enter an order compelling arbitration of this action in its

entirety.
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June 10, 2024                           Respectfully submitted,

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                               CERTIFICATE OF SERVICE
               I HEREBY CERTIFY that on this 10th day of June, 2024, copies of the foregoing

Motion to Compel Arbitration and Dismiss or Stay, Memorandum of Law In Support of

Defendant’s Motion to Compel Arbitration, Declaration of S. Fogarty and Corresponding

Exhibits, and Proposed Order were served by first class US Mail, postage prepaid, to:

                             Jeffery Battle (pro se)
                             P.O. Box 448
                             Laurel, MD 20725


                                                       /s/ Nicole Kozlowski
                                                       Nicole Kozlowski
